                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JANET MONGE,                       :
                                   :                              CIVIL ACTION
        Plaintiff,                 :
     v.                            :
                                   :
UNIVERSITY OF PENNSYLVANIA et al., :
                                   :                              NO. 2:22-cv-2942-MRP
        Defendants.                :


                                          ORDER

       AND NOW, this 28th day of October, 2024, upon consideration of the Defendant

Hyperallergic Media’s Motion to Dismiss (ECF No. 134), Defendants Kinjal Dave and Jake

Nussbaum’s Motion to Dismiss (ECF No. 143), and the responses thereto, it is hereby ORDERED

as follows:

       1. The Motions are GRANTED to the extent they seek to dismiss Plaintiff’s civil aiding

              and abetting claims.

       2. The Motions are otherwise DENIED.




                                                           BY THE COURT:




                                                            Hon. Mia R. Perez
